Case 2:14-bk-19679-BR        Doc 14 Filed 09/08/14 Entered 09/08/14 14:44:34                   Desc
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 1   PETER C. ANDERSON
     UNITED STATES TRUSTEE
 2   JILL M. STURTEVANT, State Bar No. 089395                         FILED & ENTERED
     ASSISTANT UNITED STATES TRUSTEE
 3   Dare Law, State Bar No. 155714
     TRIAL ATTORNEY                                                        SEP 08 2014
 4   OFFICE OF THE UNITED STATES TRUSTEE
     915 Wilshire Blvd, Suite 1850                                    CLERK U.S. BANKRUPTCY COURT
 5   Los Angeles, California 90017                                    Central District of California
     (213) 894-4925 telephone                                         BY fortier    DEPUTY CLERK
 6   (213) 894-2603 facsimile
     Email: dare.law@usdoj.gov
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA - Los Angeles Division

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11   In re:                                           )   Case Number 2:14-bk-19679 BR
                                                      )
12                                                    )   Chapter 7
                                                      )
13                                                    )   ORDER GRANTING MOTION TO
     ISMAEL PEREZ GARCIA and                          )   REOPEN CHAPTER 7 CASE UNDER 11
14   JULIETA HERNADEZ SANTIAGO                        )   U.S.C. SECTION 350(b)
                                                      )
15                                                    )   Hearing Date: NO HEARING SET
                                                      )   Time:
16                                                    )   Ctrm:        1668
                                                      )                 255 East Temple Street
17                                                    )                 Los Angeles, CA 90012
                     Debtors.                         )
18                                                    )
                                                      )
19                                                    )
                                                      )
20                                                    )
21            The Court having considered the United States Trustee’s Motion to Repoen Chapter 7 case

22   under 11 U.S.C. §350(b) of the Bankruptcy Code, for good cause, it is hereby

23            ORDERED that the case is hereby reopened for the chapter 7 trustee to administer assets,

24   and it is

25            ///

26            ///

27            ///

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                                                  1
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 1           FURTHER ORDERED that the United States Trustee is directed to appoint a chapter 7

 2   trustee in this case.

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     Date: September 8, 2014
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